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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


UNITED STATES OF AMERICA                    *
                                            *
v.                                          *         CRIMINAL NO. W-20-CR-097
                                            *
CECILY ANN AGUILAR                          *


                 GOVERNMENT’S MOTION FOR ENLARGEMENT OF TIME

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES the United States of America, by and through the United States Attorney

for the Western District of Texas, and requests an enlargement of time, pursuant to Rule 45,

Fed.R.Crim.P., in order to comply with the Court’s Order to file a response to Defendant’s

motion.

                                                I.

          The Government’s response to Defendant’s Motion [ECF 132] is due on November 14,

2022.      The United States Attorney respectfully requests that the date for its response be

extended thirty days, until December 14, 2022, so that the Government can complete additional

research and finalize its response.

                                                II.

        The undersigned consulted with Lewis Gainor, counsel for the Defendant, and he has no

objection to this request.

        WHEREFORE, PREMISES CONSIDERED, the United States prays that the Court grant

this motion.
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                                                  Respectfully submitted,

                                                  ASHLEY C. HOFF
                                                  United States Attorney

                                                  /s/ Mark L. Frazier

                                            By: MARK L. FRAZIER
                                                Assistant United States Attorney
                                                800 Franklin, Suite 280
                                                Waco, TX 76701
                                                (254) 750-1580



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of November, 2022, a true and correct copy of the

foregoing instrument was electronically filed with the Clerk of the Court using the CM/EF

System which will transmit notification of such filing to the following CM/ECF participant:

Lewis Gainor
Attorney at Law




                                                  /s/ Mark L. Frazier
                                            By: MARK L. FRAZIER
                                                Assistant United States Attorney
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


UNITED STATES OF AMERICA                    *
                                            *
v.                                          *      CRIMINAL NO. W-20-CR-097
                                            *
CECILY ANN AGUILAR                          *


                                        ORDER


     This matter having come before the Court on Government’s Motion for Enlargement of

Time, and the Court being otherwise fully advised on the premises,

     IT IS HEREBY ORDERED that the Government’s Motion is DENIED / GRANTED, and a

response to the Defendant’s motion is due by December 14, 2022.

        SIGNED AND ENTERED this ______ day of November, 2022.




                                            _____________________________________
                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE
